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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA


 REGAN DAWSON,

       Plaintiff,

 v.
                                                      Case No. CIV-20-1101-C
 EUGENE P. TALLHAMER, and
 CLEARPOINT CHEMICALS, LLC,

       Defendants.


                                NOTICE OF REMOVAL


      PLEASE TAKE NOTICE that on October 30, 2020, Defendant Eugene P.

Tallhamer, by counsel, has filed this Notice of Removal pursuant to 28 U.S.C. § 1446(a),

in the office of the Clerk of the United States District Court for the Western District of

Oklahoma. Defendant, by its undersigned counsel, states as follows:

1.    Plaintiff Regan Dawson brought an action against Defendant Eugene P. Tallhamer

      and Clearpoint Chemicals, LLC (“Clearpoint”) in the District Court of Woodward

      County, State of Oklahoma by filing a Petition on or about September 15, 2020. True

      copies of the state court docket sheet, and all processes and pleadings filed as of this

      date in the District Court of Woodward County, State of Oklahoma, case number CJ-

      2020-00070, are attached hereto as Exhibits. (Exhibit 1: Woodward County District

      Court docket sheet; Exhibit 2: Petition; Exhibit 3: Summons (Tallhamer); Exhibit
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      4: Summons (Clearpoint); Exhibit 5: Entry of Appearance by Gerald P. Green and

      Leslie L. Jones; Exhibit 6: Answer to Petition; Exhibit 7: Suggestion of Bankruptcy

      and Automatic Stay of Proceedings.)

2.    The Summons and Petition were served on Defendant Tallhamer on or about

      October 5, 2020.

3.    The Summons and Petition were served on Defendant Clearpoint on or about

      October 2, 2020.1

4.    In Plaintiff’s Petition, she alleges that on or about January 31, 2019, in Woodward,

      Oklahoma, a vehicle owned by Clearpoint and driven by Defendant Tallhamer

      collided with Plaintiff’s vehicle. She further alleges that Defendant Tallhamer was

      negligent and negligent per se in causing the vehicle collision and Defendant

      Clearpoint negligently entrusted the involved vehicle to Defendant Tallhamer.

     A. AMOUNT IN CONTROVERSY

5.    Plaintiffs claim damages in an amount that exceeds Seventy-Five Thousand Dollars

      ($75,000.00).

     B. DIVERSITY OF CITIZENSHIP

6.    Upon information and belief, Plaintiff is an Oklahoma resident, domiciliary and

      citizen.

7.    Defendant Tallhamer is a West Virginia resident, domiciliary, and citizen.




1Proceedings against Clearpoint Chemicals, LLC are subject to an automatic stay pursuant to the
Federal U.S. Bankruptcy Code 11 § 362.


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8.     Defendant Clearpoint is a limited liability company organized under the laws of the

       state of Delaware with its principle place of business located in Alabama.

9.     Defendant Clearpoint has two members, Harlan Foster and Todd Rader, both are

       nonparties and individuals. Mr. Foster is a resident, domiciliary, and citizen of

       Alabama. Mr. Rader is a resident, domiciliary and citizen of Texas. Therefore,

       Defendant Clearpoint is considered for diversity purposes a citizen of Alabama and

       Texas. As Plaintiff is a citizen of Oklahoma and Defendants are citizens of West

       Virginia, Alabama and Texas, there is complete diversity of citizenship among the

       parties.

10.    Pursuant to 28 U.S.C. § 1441, Defendant Tallhamer, removes the within action to

       this Court in that it is a civil action between citizens of different states and the amount

       placed in controversy by Plaintiff’s Petition exceeds the sum of $75,000.

      C. TIMELINESS

11.    This Notice of Removal is made and filed within thirty (30) days of Defendant

       Tallhamer’s Receipt, through service or otherwise, of a copy of the initial pleading

       setting forth the claim for relief upon which this action is based, as provided by 28

       U.S.C. § 1446(b).

      D. VENUE AND COMPLIANCE

12.    This district court is a proper venue under the provisions of 28 U.S.C. § 1441(a),

       because this district encompasses the place where the action has been pending.

13.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will promptly be

       filed with the Woodward County District Court Clerk’s office and will be served on


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      Plaintiff.

14.   Pursuant to 28 U.S.C. § 1446(a), attached hereto are copies of all process, pleadings

      and orders served upon or by Defendant Tallhamer, in this action.

      WHEREFORE, Defendant Eugene P. Tallhamer, removes this action to this Court,

invoking this Court’s jurisdiction.

DATED: October 30, 2020.

                                         Respectfully submitted,



                                         /s/ Leslie L. Jones
                                         Gerald P. Green, OBA No. 3563
                                         Leslie L. Jones, OBA No. 33753
                                         PIERCE COUCH HENDRICKSON
                                          BAYSINGER & GREEN, LLP
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                            CERTIFICATE OF SERVICE

       This is to certify that on the 30th day of October, 2020, a true and correct copy of
the above and foregoing document was mailed, postage prepaid, to the following named
counsel of record:

       Blake D. Beeler
       CARR & CARR
       1350 S.W. 89th Street
       Oklahoma City, OK 73159
       bbeeler@carrcarr.com
       Attorney for Plaintiff

                                         /s/Leslie L. Jones
                                         Leslie L. Jones




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